                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION



UNITED STATES OF AMERICA,               )
                                        )
     Plaintiff,                         )
                                        )                   3:11-cr-00012
v.                                      )                     .
                                        )
ROBERT PORTER, et al.                   )
                                        )
     Defendants.                        )


                                             ORDER

         Document #941, Motion in Limine #2 by Quinice Cross and joined by Xavier Parnell, Dmitri

Johnson, Porter, Dinkins, and Vance is DENIED. The expertise of Government witnesses will be

subject to voir dire examination at trial.

          It is so ORDERED.




                                             Thomas A. Wiseman, Jr.
                                             Senior United States District Judge




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